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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 MARCEL F.M. HERBERMANN,                              Case No.
 Individually and On Behalf of All Others
 Similarly Situated,

                                    Plaintiff,
                                                      JURY TRIAL DEMANDED
                        v.

 3D SYSTEMS CORPORATION,
 JEFFREY A. GRAVES, and JEFFREY D.
 CREECH,

                                    Defendants.


                                 CLASS ACTION COMPLAINT

       Plaintiff Marcel F.M. Herbermann (“Plaintiff”), individually and on behalf of all others

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants, alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

the Defendants’ public documents, conference calls and announcements made by Defendants,

United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press

releases published by and regarding 3D Systems Corporation (“3D Systems” or the “Company”),

analysts’ reports and advisories about the Company, and information readily obtainable on the

Internet. Plaintiff believes that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.




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                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired 3D Systems securities

between August 13, 2024 and May 12, 2025, both dates inclusive (the “Class Period”), seeking to

recover damages caused by Defendants’ violations of the federal securities laws and to pursue

remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      3D Systems provides 3D printing and digital manufacturing solutions in North and

South America, Europe, the Middle East, Africa, the Asia Pacific, and Oceania. The Company

earns revenue from the sale of products and services through its two operating segments:

Healthcare Solutions and Industrial Solutions. The Healthcare Solutions segment includes dental,

medical devices, personalized health services, and regenerative medicine (the “Regenerative

Medicine Program”).

       3.      The Regenerative Medicine Program focuses on “the use of additive manufacturing

for human organ transplantation.” Since 2018, 3D Systems has partnered with the biotechnology

company United Therapeutics Corporation (“United”) “with a long-term goal of developing the

capability to 3D print lungs that will allow patients with end-stage lung disease to receive

transplants that will enable them to enjoy long and active lives” (the “United Partnership”). The

terms of the United Partnership include specific “milestone criteria”—i.e., requirements that must

be met for a stage in a development process to be considered completed. In late 2024, 3D Systems

updated the United Partnership’s milestone criteria in response to changes in testing methodology.

       4.      The Company considers milestone criteria (and any updates thereto) when

accounting for recognized revenue from the United Partnership. Specifically, the Company earns



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milestone payments based upon the achievement of agreed-upon contract objectives (i.e.

milestones). Because these payments are contingent on future events, they generally represent a

form of variable consideration. Under Accounting Standards Codification 606-10-32-5, the

revenue recognition standard—a uniform framework for recognizing revenue from contracts with

customers—requires an entity to estimate the amount of variable consideration to which it will be

entitled under a contract. Accordingly, as the United Partnership milestone criteria are updated,

the Company must also update its estimates of the timing and probability that it will receive

milestone payments when accounting for recognized revenue.

       5.      Over the past several years, reduced customer spending has resulted in weakened

sales across the 3D printing industry. Nonetheless, 3D Systems has consistently maintained that,

“despite a challenging operating environment,” it “remain[s] optimistic about the future” given its

“sequential recovery and continued momentum in [its] robust customer pipeline.” Further, the

Company has touted that “[w]ith [its] new products now gaining traction in the market, [its] focus

is increasingly centered on driving gross margin expansion and operating expense improvements

in the face of continuing uncertainty in the global markets.”

       6.      In March 2025, 3D Systems released its full-year 2025 guidance. Among other

items, the Company projected “[r]evenue within the range of $420 million to $435 million,

representing essentially flat to modest growth,” “[n]on-GAAP Gross Profit Margin within the

range of 37% to 39%,” “[n]on-GAAP Operating Expense within the range of $200 million to $220

million,” and “[a]djusted EBITDA to be break even or better in Q4 2025.”

       7.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) 3D Systems



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had understated the impact of weakened customer spending on the Company’s business, while

overstating its resilience in challenging industry conditions; (ii) in addition, the updated milestone

criteria in the United Partnership would negatively impact the Company’s Regenerative Medicine

Program revenue; and (iii) as a result, the Company’s public statements were materially false and

misleading at all relevant times.

        8.      On March 26, 2025, 3D Systems issued a press release announcing its financial

results for the fourth quarter (“Q4”) and full-year 2024 (the “Q4 2024 Press Release”). Among

other items, 3D Systems reported Q4 non-GAAP earnings-per-share (“EPS”) of -$0.19, missing

consensus estimates by $0.08 per share, and sales revenue of $111 million, representing a -3.4%

year-over-year decline and missing consensus estimates by $4.17 million. Further, for full-year

2024, the Company reported sales of $440.1 million, a decrease of 10% compared to the prior year,

driven by “lower hardware systems sales due to macroeconomic factors that are negatively

impacting demand.” Finally, 3D systems reported a “$9 million revenue reduction in Q4 driven

by a change in accounting estimates for [the Company’s] Regenerative Medicine program.” The

Company disclosed that “[t]his change in estimate [was] related to the now anticipated use of pre-

clinical human decedent testing[,] [. . .] which led to refinement of the milestone technical criteria.”

        9.      On this news, 3D Systems’ stock price fell $0.57 per share, or 20.96%, to close at

$2.15 per share on March 27, 2025.

        10.     Then, after the market closed on May 12, 2025, 3D Systems issued a press release

announcing its financial results for the first quarter (“Q1”) of 2025. Among other items, 3D

systems reported: revenue of $94.5 million, down 8% year-over-year and missing consensus

estimates of $99.5 million; a net loss of $37 million, or $0.28 per share, more than doubling the

$16 million loss reported in Q1 2024; an adjusted loss of $0.21 per share, deeper than consensus



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estimates of a loss of $0.14 per share; and adjusted EBITDA of a loss of $23.9 million, deepening

from a $20.1 million loss in Q1 2024. The Company attributed its disappointing results, in part,

to a decline in material sales, mostly due to inventory management issues in the dental portion of

its Healthcare Solutions segment. 3D Systems also announced that it was withdrawing its full-

year 2025 outlook, citing prolonged softness in customer capital spending and macroeconomic

uncertainty.

       11.     On this news, 3D Systems’ stock price fell $0.68 per share, or 26.6%, to close at

$1.87 per share on May 13, 2025.

       12.     Market analysts were quick to comment on the Company’s disappointing results.

For example, on May 14, 2025, an analyst from Seeking Alpha stated that he was “skeptical that

[3D Systems] can transition to profitability in the near term” and suggested that “[e]ven after a

significant price drop, the stock isn’t a bargain given shrinking revenues, lack of profitability, and

low investor interest in the sector.”

       13.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       14.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       15.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.




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        16.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Pursuant to 3D Systems’ most recently filed Quarterly

Report with the SEC, as of May 2, 2025, there were 136,412,866 shares of the Company’s common

stock outstanding. 3D Systems’ securities trade on the New York Stock Exchange (“NYSE”).

Accordingly, there are presumably hundreds, if not thousands, of investors in 3D Systems’

securities located within the U.S., some of whom undoubtedly reside in this Judicial District. In

addition, the Company is incorporated in this Judicial District.

        17.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                             PARTIES

        18.     Plaintiff, as set forth in the attached Certification, acquired 3D Systems securities

at artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

        19.     Defendant 3D Systems is a Delaware corporation with principal executive offices

located at 333 Three D Systems Circle, Rock Hill, South Carolina 29730. The Company’s

common stock trades in an efficient market on the NYSE under the ticker symbol “DDD.”

        20.     Defendant Jeffrey A. Graves (“Graves”) has served as 3D Systems’ President and

Chief Executive Officer at all relevant times.

        21.     Defendant Jeffrey D. Creech (“Creech”) has served as 3D Systems’ Chief Financial

Officer at all relevant times.




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       22.      Defendants Graves and Creech are sometimes referred to herein as the “Individual

Defendants.”

       23.      The Individual Defendants possessed the power and authority to control the

contents of 3D Systems’ SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of 3D Systems’ SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with 3D Systems, and their access to material information available to them but not to the public,

the Individual Defendants knew that the adverse facts specified herein had not been disclosed to

and were being concealed from the public, and that the positive representations being made were

then materially false and misleading. The Individual Defendants are liable for the false statements

and omissions pleaded herein.

       24.      3D Systems and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                SUBSTANTIVE ALLEGATIONS

                                          Background

       25.      3D Systems provides 3D printing and digital manufacturing solutions in North and

South America, Europe, the Middle East, Africa, the Asia Pacific, and Oceania. The Company

earns revenue from the sale of products and services through its two operating segments:

Healthcare Solutions and Industrial Solutions. The Healthcare Solutions segment includes dental,

medical devices, personalized health services, and the Regenerative Medicine Program.




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        Materially False and Misleading Statements Issued During the Class Period

       26.     The Class Period begins on August 13, 2024, when 3D Systems filed an Annual

Report on Form 10-K, reporting the Company’s financial and operational results for the year ended

December 31, 2023 (the “2023 10-K”). In discussing the Company’s business strategy, the 2023

10-K stated, in relevant part:

       Accelerating Additive Manufacturing Adoption

       We partner with customers to enable them to adopt and scale additive
       manufacturing in their production environments. We believe that our additive
       manufacturing capabilities can help customers solve a number of design and
       manufacturing challenges – such as improved lead times, enhanced design freedom,
       part consolidation and the ability for mass customization. We believe that we have
       both the scale and the breadth of technologies, encompassing hardware platforms,
       materials and software, that our customers require for the successful
       implementation of additive manufacturing into their design and manufacturing
       processes. Using a strong application focus in each of our two business segments,
       our Applications Innovation Group integrates our printer hardware, materials,
       software and professional and technical services in unique combinations to solve a
       customer’s product need. Once complete, we can scale the process for the customer
       to a certain production level through our Advanced Manufacturing solutions, and,
       with increasing demand, we can enable a customer to continue scaling to high
       volumes within their own production facilities. This transfer of the workflow
       involves providing the printing systems, materials and software, along with the
       process definition and other technical expertise, that enables a seamless transfer of
       capability to the manufacturer. We expect the result of this approach to drive
       recurring revenue streams as customers adopt additive manufacturing solutions
       and consume materials to produce parts, utilize software to manage the print
       process and manufacturing operations, and make use of our service offerings for
       application development, maintenance and upgrades.

                                             ***

       During 2023 we made targeted investments and partnerships designed to broaden
       and enhance our product offering of 3D printing solutions and to expand
       addressable markets for our Industrial Solutions and Healthcare Solutions
       segments.

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       We believe that the above-described investments during 2023, will accelerate the
       adoption of additive manufacturing in our target industrial and healthcare end-

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       markets and open up profitable future growth opportunities for our company.
       Realizing the full benefit of these growth-oriented initiatives will require us to make
       additional investments in operations and development activities during 2024 and
       beyond.1

       27.     Appended to the 2023 10-K as exhibits were signed certifications pursuant to the

Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual Defendants, attesting that “[t]he

information contained in the [2023] 10-K fairly presents, in all material respects, the financial

condition and results of operations of the [Company].”

       28.     On August 20, 2024, 3D Systems issued a press release announcing the Company’s

Q1 2024 financial results. The press quoted Defendant Graves as stating, in relevant part:

       Our first quarter revenue results reflect a continuation of pressures driven by
       unfavorable macroeconomic and geopolitical conditions, which were particularly
       impactful on hardware printer sales that are directly tied to customer [capital
       expenditure (“capex” OR “CapEx”)] investments. As a whole, first quarter
       revenues were slightly below our initial expectations reflecting a soft start to the
       year, driven by normal seasonality, and compounded by continued scrutiny across
       customer capital expenditures for additive manufacturing systems. Given the
       timing of some significant machine purchases last year, our Industrial segment was
       most impacted by this unfavorable capital spend environment, as weakness in most
       sectors offset another strong performance from Aerospace and Defense customers.
       That said, interest in additive applications remains very robust and we are
       beginning to see signs of encouragement in certain demand markets giving us
       confidence that our top-line performance will notably improve as the year
       progresses. Materials and services, particularly in our Healthcare business,
       performed very well in the first quarter, leveraging the strength of our existing
       installed base. We view our multi-year contract award with a leading provider of
       clear dental aligners as a tremendous foundation for our dental initiatives to grow
       in the years ahead. Additionally, with the strength of our Personalized Healthcare
       business delivering another strong quarter of over 9% growth, and our intense
       focus to continue investing in the personalized space, we see significant
       opportunities to build on this momentum. Looking ahead, we are expecting
       second quarter revenues within the range of $113.0 - $113.5 million with
       continued sequential improvement throughout the balance of 2024.[]




1 All emphases included herein are added unless otherwise indicated.


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       29.     On August 29, 2024, 3D Systems issued a press release announcing the Company’s

Q2 2024 financial results. The press release quoted Defendant Graves as stating, in relevant part:

       We are encouraged by the sequential revenue progress we delivered during the
       second quarter despite a challenging operating environment. Our top-line improved
       10% quarter-over-quarter, reflecting strong performance by our Industrial and
       Healthcare markets for hardware, materials, and services. While our second-quarter
       revenue saw a year-over-year decline, this was primarily due to reduced printer
       sales to a specific dental customer and ongoing macroeconomic pressures on
       customer capital spending. We remain optimistic about the future given our most
       recent sequential recovery and continued momentum in our robust customer
       pipeline. As a result, given our performance through the first half and current
       macroeconomic and geopolitical conditions, we are now targeting revenues for
       the full-year 2024 in the range of $450 million - $460 million, as we anticipate
       continued sequential revenue improvements in the third and fourth quarters.[]

       [. . .] During the quarter, we continued to deliver gross margin improvements
       annually and sequentially, in spite of the year-over-year volume decline. Looking
       forward, we believe our in-sourcing and restructuring actions, which have
       favorably impacted our cost-of-goods this year, will continue to drive gross margin
       expansion moving forward. Additionally, we are beginning to demonstrate steady
       improvement with respect to our operating expenses, which should accelerate in
       the second half of the year. While many of these costs remain elevated from the
       prior year, the primary driver is related to costs associated with our extended 2023
       audit, which we expect will be more muted in the third quarter and then fully behind
       us by the fourth quarter. We expect to exit the year with normalized Non-GAAP
       operating expenses below $60 million by the fourth quarter, which on an annualized
       basis would be within our previously provided full-year range. In combination with
       the sequential improvement in revenues expected throughout the second half, we
       believe the significant reduction of operating expense in the second half will propel
       the company to near break-even adjusted EBITDA for the fourth quarter. While
       conditions remain challenging in the near-term, we have taken considerable
       actions to derisk our balance sheet since the end of 2023 and believe we are well-
       positioned with our critical R&D investments to capitalize on a very bright future
       ahead.

       30.     That same day, 3D Systems hosted an earnings call with investors and analysts to

discuss the Company’s Q2 2024 results (the “Q2 2024 Earnings Call”). During the scripted portion

of the Q2 2024 Earnings Call, Defendant Graves stated, in relevant part:

       When we last spoke in February, we mentioned the weakness we were seeing in
       our end markets with respect to customer CapEx spending. We believe then and
       now that this was driven largely by a high level of uncertainty on the part of our

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      customers in forecasting consumer demand in the face of high inflation and rising
      interest rates, combined with a tense geopolitical environment in Europe, Asia and
      the Middle East. These uncertainties translate into softer sales of printer hardware
      across virtually all of our major end markets, with sales reaching near nadir for our
      company in the first quarter.

      While indices that track consumer sentiment remain relatively weak in August with
      inflation rates now trending downward and interest rates poised to follow, our
      opportunity pipeline has consistently strengthened since it bottomed down in Q1.
      This translated to meaningful sales growth in the second quarter, with revenues up
      10% on a sequential basis. Provided this environment and CapEx spending trends
      continue, we expect continued sales growth in Q3 and Q4. While we won’t fully
      make up for the weakness of Q1, the trends are clearly moving in our favor.

      From an industry perspective, given the scale of our company across multiple
      end markets and the breadth of our polymer and metal technology offerings, I
      believe we have a unique perspective on the trends in the adoption of production
      scale additive manufacturing. These trends can best be seen through the backlog
      of new application development requests we’re receiving from our customers. This
      backlog has never been higher, driven by both existing customers and new
      customers who see increasing benefits from the adoption of 3D printing on
      industrial scale.

      I believe this rise in customer interest can be explained very simply. The
      versatility, quality and cost of producing components with additive technology,
      including both metal and engineered polymers, has become economically
      compelling. This is true for our entire industry and across all markets. What does
      vary is the way in which adoption occurs. Each market has a unique balance of
      needs. Markets that derive the greatest benefit from an ability to produce novel
      component designs, often only available with additive techniques are the first and
      fastest to adopt this new manufacturing technology. This is certainly the case for
      healthcare as we see in both our dental and orthopedic markets, as well as
      semiconductor equipment manufacturing, aerospace and defense and our industrial
      markets just to name a few.

                                            ***

      So, with the continued march of the additive adoption, what’s been missing in
      recent quarters is simply the confidence of our customers that they need to have in
      their end market demand to warrant new CapEx investments in their plants. It’s
      really that simple. As we now enter a period of lower inflation and lower interest
      rates and as world becomes increasingly risky for extended supply chains, we
      would anticipate a rapid rise in printer demand and along with it the strong pull
      on consumables and services. This is why we’ve been consistent in our R&D
      initiatives and customer application support over this difficult period. With our



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        global scale and an exceptional new product pipeline, we’re well positioned to
        benefit from this acceleration when it occurs.

        While overall printer demand was weak in the first half, consumables were resilient
        and services strengthened. Particularly in the healthcare space, materials and
        services grew significantly over the prior year. This helped offset weakness in
        printer hardware sales to some extent. Specific to the dental market, with the
        completion of our new long-term supply agreement in the clear aligner market,
        we expect year-over-year comparisons will turn positive beginning in Q3.

                                              ***

        Given all these factors from a timing standpoint, we would expect full company
        revenues to grow at mid-single-digit rates on a consecutive quarter basis in Q3
        and once again in Q4, bringing our revenue to roughly $450 million to $460
        million for the full year 2024.

        31.    Further, during the Q&A portion of the Q2 2024 Earnings Call, when asked to

discuss the Company’s anticipated sequential growth, Defendant Graves responded, in relevant

part:

        We should see growth in both [the Healthcare Solutions and Industrial Solutions
        segments]. The sustainability of growth in healthcare looks very high, and so I’m
        very pleased about that. Again, there was a drop off in printer sales in healthcare,
        where we’re selling printers to like contract manufacturers that are making
        implants, things like that, that was soft, again driven by CapEx. But the rest of
        healthcare was, if you will, very healthy. So, we saw growth there, expect that to
        continue. We expect to see some rebound on the industrial side, primarily from
        recovery of printers with CapEx spending become boosting up over the rest of the
        year.

        32.    Finally, when asked during the Q&A portion of the Q2 2024 Earnings Call where

in the Company’s portfolio 3D Systems was “seeing pipeline improvement,” Defendant Graves

responded, in relevant part:

        So, military and defense, aerospace, those are strong, okay? The specialty markets
        like semiconductor equipment, we’ve been working at semiconductor equipment
        for years and it’s finally paying off for us. We’ve got enormous amount of interest
        in metal parts for the semiconductor equipment industry. And if you think of the
        [CHIPS and Sciences Act] and all the manufacturing coming down the pipe on that,
        we’re really excited about that, because we can save them a lot of money by
        consolidating assemblies into fewer numbers of parts, and you can have a much

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       higher performing part in some of the critical components in those systems. And
       some of them -- if you’ve ever been close to a manufacturer of semiconductor
       equipment, some of them are incredibly difficult applications to survive in. And so,
       you can do that with 3D printing a lot better than anything else. So, there’s been a
       big demand in those kind[s] of areas, especially equipment things. So, we put all
       that in the industrial category.

       On the medical side, orthopedics is really doing well. Our personalized self-service
       doing very well. We’re bringing the cost down at good reliability for -- a very good
       reliability and obviously quality in a regulated situation for patients. And so, people
       basically going through bone repairs for either cancer treatments or damage to
       bones. It’s becoming very economically viable to make those kind[s] of implants
       now with 3D printing. So, we’ve been in that market for a long time with modeling
       first years ago, the [] aids for surgery and now the implants, all of those are now
       growing nicely for us. So very pleased with that.

       And then, dental, it was off to a slow start at the beginning of the year, but is
       increasingly interesting to people. We’re doing a lot of trials with new materials
       things like that. So, we’re broad based both industrial and healthcare.

       33.       On November 26, 2024, 3D Systems issued a press release announcing the

Company’s Q3 2024 financial results. The press release quoted Defendant Graves as stating, in

relevant part:

       As recently shared, our third quarter revenues continued to be impacted by sluggish
       capital investments by our customers for new production capacity, particularly in
       the Industrial markets, impacting the sale of new printing systems. On a positive
       note however, capacity utilization for our installed printer fleet broadly increased,
       translating into an increase in consumable revenues, which grew nearly 10% on
       both prior year and sequential comparisons. While 2024 has been a challenging
       year for new printer system sales, we are increasingly encouraged about the
       future, driven in large part by customer demand for our Application Innovation
       Group, a group of highly skilled process specialists who assist customers in
       developing new applications for 3D printing. Year-to-date this group, which spans
       both polymer and metal solutions, has experienced a rise of over 26% in revenues
       derived from new application development, particularly in highly regulated markets
       such a semiconductor equipment manufacturing, oil & gas, aerospace & defense
       markets, and our medical markets. Much of this performance, and the future
       growth potential it implies, has been fueled by an aggressive cycle of innovation
       at our company, enabled by our sustained focus on new product innovation
       across all of our major polymer and metal printing solutions. As a result of this
       sustained focus, which we believe differentiates us from many others in our
       industry, we are on pace to deliver nearly 40 new products to market since the
       third quarter of last year, and 25 in calendar 2024 alone. We believe no other

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       company in our industry has matched this output that we expect will pay
       dividends in growth and profitability improvements as the economy rebounds in
       the future.

                                             ***

       As we look to the end of the year, the consistent fueling of our R&D engines as
       we moved through a tougher macro environment period is now driving an
       acceleration of exciting new customer applications, supported by outstanding
       new products spanning from new printer hardware to advanced engineering
       materials, to enhancement of our software capabilities. We believe this positions
       us well as the geopolitical and economic headwinds of the last 18 months
       ultimately begin to recede. Given timing uncertainties and normal quarter-to-
       quarter inventory management at year-end, we believe it is prudent to be
       conservative in our outlook for the full year. As such, we are updating our revenue
       expectations for the full year 2024 to be between $440 million and $450 million.
       From an OPEX perspective, we expect to see continued improvement consistent
       with our prior comments, namely that OPEX will decrease again in Q4, to below
       $60 million. These combined factors should yield a sequential improvement in
       Adjusted EBITDA and will place us on a trajectory towards profitability in the
       quarters ahead. We will continue our balanced view of short-term focus on cash
       performance and improving profitability, while meeting the longer-term needs of
       our customers from a technology and service perspective. In keeping our
       customers’ production goals clearly in our sites each day, we believe that
       substantial long-term value will be created for all of our stakeholders in the years
       ahead.

       34.     On November 27, 2024, 3D Systems hosted an earnings call with investors and

analysts to discuss the Company’s Q3 2024 results (the “Q3 2024 Earnings Call”). During the

scripted portion of the Q3 2024 Earnings Call, Defendant Graves stated, in relevant part:

       At a high level, our third quarter revenue largely represents a continuation of the
       trends that we and the additive industry broadly have been contending with for
       several quarters now. Very simply, macroeconomic and geopolitical uncertainties
       have caused our customers to reduce CapEx spending for new capacity in their
       factories, which in turn has created a persistent headwind to hardware system sales.
       It’s really that simple.

       As a consequence, our revenues were essentially flat on a sequential basis. This was
       slightly weaker than we had anticipated as a few key installations of new systems,
       which were targeted for acceptance late in Q3, slipped into the fourth quarter.
       However, while the sale of new printing systems is still sluggish, what is changing
       for the better is the utilization rate of our installed base, as indicated by rising
       sales of consumables to our customers. Consumable materials grew approximately

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        10% from the prior year and demonstrated sustained sequential growth, a trajectory
        that has consistently improved since the beginning of the year, most recently
        growing 9% sequentially in the third quarter versus Q2.

        In a similar vein, interest in new application development has been on a very
        robust trajectory. As many of you know, we have one of the largest and most
        capable application engineering groups in the world. These engineers work directly
        with our customers on new applications for both metal and polymer 3D printing.

        Year-to-date, revenues from our industrial application group are up 26% from
        last year and continue to rise. We monitor this activity level as a directional
        indicator of growth potential for important new applications. The performance
        we experienced in Q3 is a strong indicator of continuing growth in customer
        interest in 3D printing for their production needs. We expect this interest to
        ultimately translate into more robust sales as the economic environment
        improves.

        To provide a little more color on where this interest is coming from, leading the
        way are what we refer to as the high reliability markets, such as energy, oil & gas,
        semiconductor equipment manufacturing, and aerospace and defense, all of which
        have a very high standard for component quality, performance, reliability, and
        traceability. For these customers, which are often subject to strict regulatory
        requirements, the ability of both our polymer and metal printing solutions to meet
        their needs and to do so with compelling economics is a cornerstone of our value
        proposition.

                                              ***

        From a healthcare standpoint, the third quarter was strong, with solid growth on a
        sequential and year-over-year basis. We attribute this growth to a meaningful
        recovery in dental, up well over 30%, and another impressive performance in
        personalized health care, which was up almost 20%. Given the momentum we have
        in our health care business broadly and our strong pipeline of new products and
        applications ahead, we remain very excited about the future of this portion of our
        business.

        35.    Further, during the Q&A portion of the Q3 2024 Earnings Call, when asked to

discuss the Company’s anticipated future profitability, Defendant Graves responded, in relevant

part:

        So I’m very encouraged by the number of new applications customers are talking
        about. If they put real capital behind that, we could see a nice lift in revenues in
        ‘25. It’s a question of how quickly will they spend the money for it. Nicely, I have
        no doubt these applications are things they really want to put in their factories.

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       That’s a good thing. It’s a timing issue. So we’re hopeful revenues will be rising
       in ‘25, which will be helpful. Factory utilization is going to improve. The
       inventory reduction plan we have a great for cash, so those are all positive factors.

       And we have -- I’ll be candid with you we have you know real opportunities for
       cost management, which I think it will really help in ‘25, so I can’t give you a
       number, but I think you’ll see significant movement in ‘25. If those things come
       to pass, you’ll see significant movement in ‘25 toward profitability and hopefully,
       at some point during the year, you’d see a swing to positive EBITDA and growth
       from there. So, it’s just too early to tell and we won’t put out guidance until we
       get to our fourth quarter results, but I’m encouraged by the trends and we’ll see
       if they continue.

       36.     Finally, when asked during the Q&A portion of the Q3 2024 Earnings Call to

discuss milestones in the United Partnership, Defendant Graves responded, in relevant part:

       I think we’ll see some additional milestones in ‘25. I wish we could talk more about
       it, both the precision and the speed at which we can print extremely fine structure
       now is amazing. And we have multiple paths to the design of those printers for
       production applications for organs and human body, specifically lungs. So I am
       really pleased with progress on the technology and the implementation of that for
       lung manufacturing. So you can expect, we’ll be talking about milestones in 2025
       that we’re hitting and I continue to believe we’re on track to be in a position to get
       to human demonstration on a reasonable timeline.

Conspicuously, Defendant Graves failed to disclose the possibility of changes to the United

Partnership’s milestone criteria, or the negative impact of such changes on the Company’s

revenues.

       37.     The statements referenced in ¶¶ 26-36 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and compliance policies.                Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) 3D Systems

had understated the impact of weakened customer spending on the Company’s business, while

overstating its resilience in challenging industry conditions; (ii) in addition, the updated milestone

criteria in the United Partnership would negatively impact the Company’s Regenerative Medicine



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Program revenue; and (iii) as a result, the Company’s public statements were materially false and

misleading at all relevant times.

                                    The Truth Begins to Emerge

       38.     On March 26, 2025, 3D Systems issued the Q4 2024 Press Release. Among other

items, 3D Systems reported Q4 non-GAAP EPS of -$0.19, missing consensus estimates by $0.08

per share, and sales revenue of $111 million, representing a -3.4% year-over-year decline and

missing consensus estimates by $4.17 million. Further, for full-year 2024, the Company reported

sales of $440.1 million, a decrease of 10% compared to the prior year, driven by “lower hardware

systems sales due to macroeconomic factors that are negatively impacting demand.” The Q4 2024

Press Release also quoted Defendant Graves as stating, in relevant part:

       In addition, with the largest installed base in the additive manufacturing industry,
       we were pleased to see a return to healthy consumable sales across most markets,
       reflecting higher utilization rates for existing machines. These positive changes in
       our core business units were unfortunately masked by the impact of an
       accounting estimate change in our Regenerative Medicine program related to
       refinement of technical acceptance criteria associated with a potential change in
       testing methodology for printed human lungs, which are the focus of this
       program. This estimate change relates to the incorporation of in vivo human
       decedent testing protocols, which have recently been successfully demonstrated by
       our partner, United Therapeutics. While this accounting estimate change was not
       originally contemplated in our 2024 guidance, I am pleased that our core
       businesses still delivered within the full-year revenue range communicated in our
       prior forecast, and that the market showed signs of strengthening in the fourth
       quarter.

       39.     On this news, 3D Systems’ stock price fell $0.57 per share, or 20.96%, to close at

$2.15 per share on March 27, 2025. 3D Systems’ securities nonetheless continued to trade at

artificially inflated prices throughout the remainder of the Class Period because of Defendants’

continued misstatements and omissions regarding 3D Systems’ overstatement of its resilience in

challenging industry conditions.




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       40.       For example, the Q4 2024 Press Release quoted Defendant Graves as stating, in

relevant part:

       With our new products now gaining traction in the market, our focus is increasingly
       centered on driving gross margin expansion and operating expense improvements
       in the face of continuing uncertainty in the global markets. Given this potential
       demand profile, we believe it is prudent to undertake further significant actions to
       reduce costs and improve operating efficiencies to support our long-term mission
       of delivering growth with sustainable profitability. Our latest cost initiative, which
       began in Q1 of 2025, is targeted at delivering over $50 million of incremental
       annualized savings based on actions taken over the next six quarters. Importantly,
       while these efforts will not be fully completed until the middle of 2026, we
       anticipate significant improvements associated with them, in conjunction with
       those taken previously, leading us to expect break-even-or-better adjusted-
       EBITDA performance by the fourth quarter of 2025, despite essentially flat-to-
       modest revenue growth. From a balance sheet perspective, having previously
       retired over 50% of our Convertible Notes due November 2026, the remainder of
       which reaches maturity in Q4 of 2026, our cash balance at 2024 year-end of $171
       million, supplemented by proceeds from the sale of our Geomagic software
       platform for $123 million in the coming weeks, positions us well to continue
       reducing our leverage while supporting the investments needed to deliver long-
       term growth and profitability.

       41.       Further, in the Q4 2024 Press Release, 3D Systems revealed its full-year 2025

Outlook, stating:

       Assuming no material change in current macroeconomic conditions and the
       expected divestiture of the Geomagic business in early Q2 of 2025, the Company
       is providing the following for its full year 2025 outlook:

             •   Revenue within the range of $420 million to $435 million, representing
                 essentially flat to modest growth when excluding Geomagic revenue for the
                 same periods in FY’24
             •   Non-GAAP Gross Profit Margin within the range of 37% to 39%
             •   Non-GAAP Operating Expense within the range of $200 million to $220
                 million
             •   Adjusted EBITDA to be break even or better in Q4 2025[.]

       42.       On March 27, 2025, 3D Systems hosted an earnings call with investors and analysts

to discuss the Company’s Q4 2024 results (the “Q4 2024 Earnings Call”). During the scripted

portion of the Q4 2024 Earnings Call, Defendant Graves stated, in relevant part:


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      With a rise in capacity utilization and increased printer sales in Q4, we are hopeful
      that we’ve seen the worst, but only time will tell. On a more positive note, as the
      performance, reliability and economics of 3D printing continuously accelerates,
      customer interest in production applications continues to rise unabated. In fact,
      for 3D Systems, the level of customer exploration and engagement in our additive
      technology has never been higher as reflected in our Application Innovation
      Group activity, which was up 18% for the year.

                                             ***

      Over the course of our quarterly earnings releases through the coming year, we
      plan to expand on these markets for you, including their size potential and
      strategy on how we win. In just a few moments, I’ll begin this series by diving more
      into our dental business for this call. Given the rapid pace of additive technology
      evolution for both health care and industrial applications, we have great
      confidence in our longer-term growth prospects.

                                             ***

      To delve deeper into the one of the most significant and immediate strategic
      growth opportunities in front of us today, which is the dental market. For our
      company, dental applications reside in four key pillars, which we categorize as
      straighten, protect, repair and replace. These four areas are all converting to a large
      extent to 3D printing technology, which lowers cost, improves performance and
      shortens lead times for the patient.

                                             ***

      Our significant position in the aligner market today gives us a strong foundation
      to build upon. At one customer alone, we’ve deployed fleets of production printers
      totaling over 600 that operate simultaneously across three continents globally each
      day and have the ability to print over 1 million custom parts per day. Our expertise
      in this domain was evidenced in the landmark contract we announced last summer
      with a leader in the clear aligner space, valued at $0.25 billion to support the
      production of clear aligners over five years.

      With the emergence of technology into direct print aligners, we anticipate further
      expansion of this market in the coming years, and we plan to lead the way.

                                             ***

      Taken together, the dental opportunity we have in front of us is estimated at over
      $1 billion in the United States alone, and we are targeting as one of the largest
      company priorities going forward. So a key question you might ask is, why will
      we win in this market? From my standpoint, it’s very simple. Our legacy and
      current leadership in the well-established aligner market is undeniable. The

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        reputation for quality, reliability of our next-gen materials further strengthens
        our brand in the market each day. Across the entirety of our Healthcare segment,
        we have the experience and proven track record to bring customized patient
        solutions to the market, and we have a proven ability to navigate complex
        regulatory markets having been granted over 100 [U.S. Food & Drug
        Administration] cleared and [European Conformity] marked devices across our
        portfolio. Supported by our tenacious approach to innovation, I believe we’re best
        positioned by far to capitalize on this $1 billion market opportunity as dentistry
        quickly pivots to 3D printing technology for the future.

        43.       The statements referenced in ¶¶ 40-42 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and compliance policies.                Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) 3D Systems

had understated the impact of weakened customer spending on the Company’s business, while

overstating its resilience in challenging industry conditions; and (ii) as a result, the Company’s

public statements were materially false and misleading at all relevant times.

                                  The Truth Continues to Emerge

        44.       Then, on May 12, 2025, after the market closed, 3D Systems issued a press release

announcing its financial results for the first quarter of 2025. The press release stated, in relevant

part:

        3D Systems [. . .] announced today its financial results for the first quarter ended
        March 31, 2025.

              •   Revenue of $95 million as growth in new hardware systems and related
                  services was offset by a decline in materials sales driven primarily by
                  inventory management in the dental aligner market.

                                               ***




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                                              ***



       2025 Outlook

       Due to the risk of protracted weakness in customer capital investment spending,
       the Company is withdrawing full year guidance for 2025 as it continues to focus
       on delivering profitability at its current scale. The Company believes with its strong
       new product portfolio, spanning all metal and polymer platforms, it is well-
       positioned for accelerated growth and profitability when customer spending on
       capex rebounds.

       45.    On this news, 3D Systems’ stock price fell $0.68 per share, or 26.6%, to close at

$1.87 per share on May 13, 2025.

       46.    Market analysts were quick to comment on the Company’s disappointing results.

For example, on May 14, 2025, an analyst from Seeking Alpha stated, in relevant part:

       3D Systems [. . .] reported terrible results in the first quarter, which appears to have
       been driven by weak materials sales to dental alignment customers. The company
       also appears bearish about the impact of tariffs on its business, although this won’t
       show up in its financials until Q2. The poor results aren’t necessarily surprising
       given Materialise’s (MTLS) disappointing Q1 software revenue and Align
       Technology’s (ALGN) recent soft growth. It does call into question the health of
       the business and 3D Systems’ path to profitability, though.

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       While 3D Systems’ share price more than doubled after that, it has now round
       tripped the move, and the company’s problems appear larger than ever. A soft
       demand environment, mounting competition and customer concentration are all
       significant issues. As a result, I continue to think that there are better ways to
       capitalize on additive manufacturing than hardware companies.

                                              ***

       3D Systems also pulled full-year guidance, but given management’s tone on the
       earnings call, I expect revenue to continue to drop from current levels. In particular,
       equipment sales will likely be weak in coming quarters due to a combination of
       rising interest rates, banks tightening lending standards and elevated uncertainty.

       3D Systems’ gross margin declined in Q1, driven by pricing pressure, revenue mix
       and lower volumes. This represents a continuation of trends that have been present
       for the better part of 5 years.

                                              ***

       3D Systems’ business continues to deteriorate, and this is before the uncertainty
       created by tariffs hits its equipment sales. While cost-cutting could move the
       company closer to breakeven, 3D Systems has been suggesting profitability is
       imminent for some time, while making little actual progress.

       After the most recent price drop, 3D Systems could be considered reasonably
       priced. I believe the stock could have further to fall, though, given the lack of
       investor interest in the additive manufacturing space. With the Geomagic cash,
       3D Systems’ enterprise value now sits at around 300 million USD, against
       something like a 350-400 million USD revenue run-rate going forward. This hardly
       screams bargain for an unprofitable company with a shrinking revenue base.

       47.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  SCIENTER ALLEGATIONS

       48.     During the Class Period, Defendants had both the motive and opportunity to

commit fraud. They also had actual knowledge of the misleading nature of the statements they

made, or acted in reckless disregard of the true information known to them at the time. In so doing,

Defendants participated in a scheme to defraud and committed acts, practices, and participated in

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a course of business that operated as a fraud or deceit on purchasers of the Company’s securities

during the Class Period.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        49.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired 3D Systems securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

        50.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, 3D Systems securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by 3D Systems or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        51.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.




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       52.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       53.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

             •     whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

             •     whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of 3D Systems;

             •     whether the Individual Defendants caused 3D Systems to issue false and
                   misleading financial statements during the Class Period;

             •     whether Defendants acted knowingly or recklessly in issuing false and misleading
                   financial statements;

             •     whether the prices of 3D Systems securities during the Class Period were
                   artificially inflated because of the Defendants’ conduct complained of herein; and

             •     whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

       54.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       55.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:



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              •     Defendants made public misrepresentations or failed to disclose material facts
                    during the Class Period;

              •     the omissions and misrepresentations were material;

              •     3D Systems securities are traded in an efficient market;

              •     the Company’s shares were liquid and traded with moderate to heavy volume
                    during the Class Period;

              •     the Company traded on the NYSE and was covered by multiple analysts;

              •     the misrepresentations and omissions alleged would tend to induce a reasonable
                    investor to misjudge the value of the Company’s securities; and

              •     Plaintiff and members of the Class purchased, acquired and/or sold 3D Systems
                    securities between the time the Defendants failed to disclose or misrepresented
                    material facts and the time the true facts were disclosed, without knowledge of
                    the omitted or misrepresented facts.

        56.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        57.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                               COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        58.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        59.       This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.




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          60.   During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of 3D Systems securities;

and (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire 3D

Systems securities and options at artificially inflated prices. In furtherance of this unlawful

scheme, plan and course of conduct, Defendants, and each of them, took the actions set forth

herein.

          61.   Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for 3D Systems securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about 3D Systems’ finances and business prospects.

          62.    By virtue of their positions at 3D Systems, Defendants had actual knowledge of

the materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants



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acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

       63.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of 3D Systems, the Individual Defendants had knowledge of the details of 3D

Systems’ internal affairs.

       64.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.        Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of 3D

Systems. As officers and/or directors of a publicly-held company, the Individual Defendants had

a duty to disseminate timely, accurate, and truthful information with respect to 3D Systems’

businesses, operations, future financial condition and future prospects.        As a result of the

dissemination of the aforementioned false and misleading reports, releases and public statements,

the market price of 3D Systems securities was artificially inflated throughout the Class Period. In

ignorance of the adverse facts concerning 3D Systems’ business and financial condition which

were concealed by Defendants, Plaintiff and the other members of the Class purchased or

otherwise acquired 3D Systems securities at artificially inflated prices and relied upon the price of

the securities, the integrity of the market for the securities and/or upon statements disseminated by

Defendants, and were damaged thereby.



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          65.   During the Class Period, 3D Systems securities were traded on an active and

efficient market. Plaintiff and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of 3D Systems securities at prices artificially inflated by Defendants’ wrongful conduct. Had

Plaintiff and the other members of the Class known the truth, they would not have purchased or

otherwise acquired said securities, or would not have purchased or otherwise acquired them at the

inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff and the

Class, the true value of 3D Systems securities was substantially lower than the prices paid by

Plaintiff and the other members of the Class. The market price of 3D Systems securities declined

sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff and Class

members.

          66.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          67.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)




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        68.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

        69.     During the Class Period, the Individual Defendants participated in the operation

and management of 3D Systems, and conducted and participated, directly and indirectly, in the

conduct of 3D Systems’ business affairs. Because of their senior positions, they knew the adverse

non-public information about 3D Systems’ misstatement of income and expenses and false

financial statements.

        70.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to 3D

Systems’ financial condition and results of operations, and to correct promptly any public

statements issued by 3D Systems which had become materially false or misleading.

        71.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which 3D Systems disseminated in the marketplace during the Class Period

concerning 3D Systems’ results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause 3D Systems to engage in the wrongful

acts complained of herein. The Individual Defendants, therefore, were “controlling persons” of 3D

Systems within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of 3D

Systems securities.

        72.     Each of the Individual Defendants, therefore, acted as a controlling person of 3D

Systems. By reason of their senior management positions and/or being directors of 3D Systems,

each of the Individual Defendants had the power to direct the actions of, and exercised the same



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to cause, 3D Systems to engage in the unlawful acts and conduct complained of herein. Each of

the Individual Defendants exercised control over the general operations of 3D Systems and

possessed the power to control the specific activities which comprise the primary violations about

which Plaintiff and the other members of the Class complain.

       73.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by 3D Systems.


                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: June 13, 2025                                    Respectfully submitted,

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